Case 2:04-cr-20041-BBD Document 67 Filed 07/21/05 Page 1 of 2 PagelD 68

y\

lN THE uNlTED sTATEs olsTRicr couRT F"~ED l“”?f~-~ flb-
FoR THE wEsTERN olsTRlcr or= TENNEssEE
wEsTERN DlvlsloN 95 JUL 2| hit ll= L+S

 

rt . '. ,K.JLU

UN|TED STATES OF AMER|CA

   

P|aintif'f

VS.
CR. NO. 04-20041-D

MiCHAEL SANDERS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on July 20, 2005. At that time, counsel forthe
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursda)¢l August 25. 2005. at 9:00 g.m.. in Courtroom 3. 9th Floor of
the Federal Building, Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

n is so oRoERED this &/ day of July, 2005.

j gm

B NICE B`. DONKLD
u lTED sTATEs olsTRlcT JuDGE

Thls document entered on the docket shea n ll 55
with Hule 55 and/or 32(h) FRCrF’ on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
ease 2:04-CR-20041 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

